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    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                  Filed: September 6, 2017

* * * * * * * * * * * * * *
TRACY KUNCA,                                  *      No. 16-1237V
                                              *
               Petitioner,                    *      Special Master Sanders
                                              *
v.                                            *
                                              *      Joint Stipulation on Damages; Influenza
SECRETARY OF HEALTH                           *      (“flu”) Vaccine; Significant Aggravation;
AND HUMAN SERVICES,                           *      Pericarditis.
                                              *
          Respondent.                         *
* * * * * * * * * * * * * *

Nancy R. Meyers, Ward Black Law, Greensboro, NC, for Petitioner.
Adriana R. Teitel, United States Department of Justice, Washington, DC, for Respondent.

                                           DECISION1

        On September 30, 2016, Tracy Kunca (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-10 to -34
(2012). Petitioner alleged that the influenza (“flu”) vaccine administered on October 7, 2013
significantly aggravated her pericarditis. See Stip. at ¶¶ 1-4, ECF No. 21. Petitioner further
alleged that she required “an inpatient hospitalization and surgical intervention and/or
experienced the residual effects of her injury for more than six months.” Id. at ¶ 4.

       On September 6, 2017, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation to Petitioner. Respondent denies that Petitioner’s flu
vaccine significantly aggravated her pericarditis or caused any other injury. Id. at ¶ 6.
Nevertheless, the parties agree to the joint stipulation, attached hereto as Appendix A. The
1
 This decision shall be posted on the United States Court of Federal Claims’ website, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), a party has 14 days to identify and move to delete medical or other information that
satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a
motion for redaction must include a proposed redacted decision. If, upon review, the
undersigned agrees that the identified material fits within the requirements of that provision, such
material will be deleted from public access.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42
U.S.C. §§ 300aa-10 to -34 (hereinafter “Vaccine Act,” “the Act,” or “the Program”). Hereafter,
individual section references will be to 42 U.S.C. § 300aa of the Act.
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undersigned finds the stipulation reasonable and adopts it as the decision of the Court in
awarding damages, on the terms set forth therein.

        The parties stipulate that Petitioner shall receive the following compensation:

               A lump sum of $7,500.00 in the form of a check payable to petitioner. This
               amount represents compensation for all damages that would be available under
               42 U.S.C. § 300aa-15(a).

Id. at ¶ 8.

      The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3


        IT IS SO ORDERED.

                                              s/Herbrina D. Sanders
                                              Herbrina D. Sanders
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

                                                 2
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